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|N THE UN|TED STATES D|STR|CT COURT l _
FOR THE WESTERN D|STR|CT OF TENNESSEE ""” -'~G' .-i.§i ir- l
WESTERN D|V|S|ON

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UNITED STATES OF AMER|CA

Plaintiff
VS.
CR. NO. 04-20394-D
l\/|AURICE CALLAVVAY
Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERIOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Apri| 19, 2005. At that time, counsel for the
defendant requested a continuance of the |V|ay 2, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to July 5, 2005 with a @p_cg_t
date of Thursday, June 30, 2005, at 9:00 a.m., in Courtroom 3l 9th Floor of the Federal
Building, Nlemphis, TN.

The period from April 19, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

|T IS SO ORDERED this §§ day Of Apri|, 2005.

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Thls document entered on the docket sheet in compliance

with Ftu|e 55 and,‘or 32(b} FHGrP on

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UNITED S`ATE DSTIIC COUR - WESTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CR-20394 Was distributed by faX, mail, or direct printing on
April 29, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

